           Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 1 of 27



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

__________________________________________
SECURITIES AND EXCHANGE                   )
COMMISSION,                                )
                                          )
                        Plaintiff,        )
                                          )
                  v.                       )               Civil Action No. _______
                                          )
BINANCE HOLDINGS LIMITED,                  )
BAM TRADING SERVICES INC.,                 )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                  )
                                          )
                        Defendants.       )
__________________________________________)


                      DECLARATION OF SACHIN VERMA

       I, Sachin Verma, declare the following pursuant to Title 28, United States

 Code, Section 1746:

      1.       I am an active Certified Public Accountant with over 20 years of

experience. I am currently employed by the United States Securities and Exchange

Commission (“SEC”) in Washington, DC, as an Assistant Chief Accountant in the

Division of Enforcement. As part of my daily activities, I have performed numerous

reviews of financial records in connection with SEC investigations.

      2.       I submit this declaration in support of the SEC’s Motion for a

Temporary Restraining Order and Preliminary Injunctions. The information set

forth herein is based upon my personal review of financial records such as bank

statements, deposits, cancelled checks, wire transfers, signature cards, and other

account documents produced to the SEC by the defendants, Silvergate Bank,
                                            1
           Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 2 of 27



Signature Bank, FedWire and other parties pursuant to subpoenas and document

requests (“financial records”) as of this date. My classification and summarization of

financial records in this Declaration may change based on additional information that

may be produced at a later date.1 I have cited to bates stamped document where

applicable (“record documents”).

      3.       During the period from April 18, 2019 to April 5, 2023 (the “Relevant

Period”), the corporate Defendants and many other corporate entities owned by

Defendant Zhao held numerous accounts with two banks in the United States--

Silvergate Bank and Signature Bank.

      4.       According to their websites, both banks had proprietary networks

designed to enable their digital currency and institutional investor customers to send

U.S. dollars and euros 24 hours a day between their accounts and the accounts of

other bank customers. Silvergate promoted its SEN network as “Real-time USD and

EUR settlement between counterparties, used by some of the largest exchanges in the

world,” and “enabling near real-time transfers and immediate availability of funds.”

Signature promoted its Signet Platform as leveraging blockchain technology to allow

its commercial clients to make payments in U.S. dollars 24 hours a day, and

“transactions made on the Signet Platform settle in real time, are safe and secure and

incur no transaction fees.”2



                                           2
1
  Given the volume of the documents, they are not being attached, but can made
available upon the Court’s request to the SEC’s counsel of record.
2
  Wayback Machine for January 2023: Signet | Signature Bank (archive.org);
Wayback Machine December 2022: Silvergate Exchange Network Solutions |
Silvergate Bank | San Diego (archive.org).
           Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 3 of 27



      5.       I have reviewed account statements produced by Silvergate Bank for

the following company accounts: Binance Holdings Limited, Binance Capital

Management Co Ltd., BAM Management US Holdings Inc., BAM Trading Services

Inc., Binance (Switzerland) AG, Sigma Chain AG, Merit Peak Limited, and Key

Vision Development Limited. Many of those accounts participated in the SEN

network.

      6.       I have reviewed account statements produced by Signature Bank for

the following company accounts: Binance Holdings Limited, Binance Capital

Management Inc., BAM Management US Holdings Inc., BAM Trading Services Inc.,

and Merit Peak Limited. Dozens of other Binance and non-Binance entities, all

beneficially owned by Zhao, also held accounts at Signature Bank. Many of these

bank accounts participated in the Signet network.

      7.       Attachment 1 summarizes the monthly activity in the Silvergate and

Signature bank accounts of the above-mentioned companies and provides an overview

of significant amounts of money moving through these accounts during 2019-2023,

including through SEN and Signet accounts described above. Attachments 2 and 3

summarize the corporate domicile, the beneficial owner, officers and signatories

during the relevant period.



SILVERGATE ACCOUNTS

      8.       The following is a summary of account activity in the above-mentioned

accounts at Silvergate Bank during the relevant period:




                                           3
          Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 4 of 27



        KEY VISION DEVELOPMENT LIMITED

              a.     Key Vision Development Limited is a Seychelles company

        beneficially owned by Zhao. The website address was identified as

        “Binance.com,” the email address was identified as fiat.finance@binance.com,

        and the number of employees was disclosed as “1000 (Binance).” The nature of

        its business was described as a cryptocurrency exchange to allow users to

        exchange digital assets. The expected funds flow activity was described as

        “Deposits: Fiat is wired to bank account, transfer fee paid at this point, Fiat

        will automatically convert to stablecoin (BUSD) when deposited. Withdrawals:

        BUSD converted to USD and withdrawn to client’s account.”

              b.     In 2020 and 2021, Key Vision deposits and withdrawals both

        exceeded $13 billion (or $11 billion if internal transfers between Key Vision

        accounts at Silvergate Bank are excluded). Nearly all of the funds deposited

        into Key Vision accounts were transferred to an account in the name of Merit

        Peak Limited. Silvergate closed Key Vision’s accounts in mid-2021.

        MERIT PEAK LIMITED

              c.     Relevant Merit Peak Limited financial records show that Merit

        Peak Limited is a British Virgin Islands company beneficially owned by Zhao.3

        Its email address was identified as Solutions@Binance.com, and the nature of

        its business was described as OTC desk and proprietary trading of digital

        assets. Silvergate closed Merit Peak’s accounts in mid-2022.




                                             4
3
    BHL-SEC-BUSD-0021710.
          Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 5 of 27



              d.     Between 2019 and 2021, Merit Peak accounts received $22 billion,

        including approximately $11 billion from Key Vision, $7.2 billion from other

        Binance entities, and $1.2 billion from BAM Trading. Merit Peak paid most of

        that money - $21.6 billion - to a foreign affiliate of Paxos TrustCompany, LLC

        (“Paxos”) the issuer of BUSD, a so-called stablecoin. This is summarized here:

         Merit Peak Limited                            2019-2021           2019-2021
                                                        Deposits        Withdrawals

         Silvergate Bank Account

         Key Vision Development Limited           $11,076,701,000

         Binance Entities                          $7,187,710,000

         BAM Trading Services Inc.                 $1,207,794,133

         Paxos Global PTE LTD                                         $21,557,032,027

         Other                                     $2,475,399,939        $390,573,045

         Total                                   $ 21,947,605,072     $21,947,605,072



         Silvergate Bank Account                     $287,729,139        $287,729,139



         Total                                    $22,235,334,211     $22,235,334,211


        SIGMA CHAIN

              e.     Sigma Chain AG is a Swiss company beneficially owned by Zhao.4

        Sigma Chain’s described business was as a market maker providing liquidity

        to fiat exchanges. Sigma Chain’s account was closed in February 2023.

              f.     Between 2019 and 2023, Sigma Chain’s account received $494

        million, including $184 million from Binance Holdings Limited, $145 million


                                            5
4
    SEC-SGB-E-0022457.
  Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 6 of 27



from BAM Trading, $36 million from Binance Capital Management, and $15

million from Key Vision. During that period, Sigma Chain paid $494 million,

including $160 million to BAM Trading Services, $131 million to Binance

Holdings Limited, $21 million to Merit Peak , $2 million to Binance

(Switzerland) AG, $32 million to Guangying Chen, and $10 million to Simpson

Marine. This is summarized here:

Sigma Chain Limited                       2019-2023         2019-2023 Select
                                             Select            Withdrawals
                                           Deposits

Silvergate Bank Account

Binance Holdings Limited                $184,250,000            $131,188,691

BAM Trading Services Inc.               $145,000,100            $160,000,600

Binance Capital Management Co            $36,000,000
Ltd

Key Vision Development Limited           $15,000,000

Merit Peak                                                        $21,000,100

Guangying Chen                                                    $32,430,435

Simpson Marine (S.E.A.) Pte Ltd                                   $10,973,407

Binance (Switzerland) AG                                              $2,253,649
Binance Capital Management Co                                         $1,000,000
Ltd

Other                                   $113,382,576            $134,780,183

Total                                   $493,632,676            $493,627,065


BAM MANAGEMENT US HOLDINGS INC.

        g.   BAM Management US Holdings Inc., is a Delaware Company

owned by BAM Management Company Limited, all of which is beneficially



                                    6
       Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 7 of 27



     owned by Zhao.5 The last transaction date is February 22, 2023. Between

     2019 and 2023 deposits and withdrawals exceeded $500 million.

     BAM TRADING SERVICES, INC.

           h.     BAM Trading Services Inc., is a Delaware company owned by

     BAM Management US Holdings, Inc.6 Between 2019 and 2023, deposits and

     withdrawals for these accounts exceeded $11 billion. It received $4 billion from

     Prime Trust, $2.4 billion from Wintermute, $760 million from Subspace

     Capital LLC, $424 million from Coinbase, $380 million from KBIT Global, $349

     million from Auros Tech Limited, $326 million from Tagomi Trading LLC, $318

     million from Alameda Research Ltd Debtor in Possession, $160 million from

     Sigma Chain, $27 million from BAM Management Holdings, and $5 million

     from Merit Peak Limited. It sent $3.3 billion to Wintermute Trading, Limited,

     $1.5 billion to Alameda Research Ltd Debtor in Possession, $1.2 billion to Merit

     Peak Limited, $924 million to Auros Tech Limited, $683 million to Subspace

     Capital LLC, $665 million to KBIT Global Limited, $145 million to Sigma

     Chain.

     BINANCE (SWITZERLAND) AG

           i.     Binance (Switzerland) AG is a Swiss company beneficially owned

     by Zhao.7 This account was closed in February 2023. Between 2019 and 2023,

     deposits and withdrawals for this account exceeded $300 million, most of which

     was received from Binance Holdings Limited, and paid out to a variety of

                                         7
5
  BHL-SEC-BUSD-0220886.
6
  BTS00462320.
7
  SEC-SGB-E-0022453.
          Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 8 of 27



        companies, including other Binance entities, and $20.6 million in 2022 to a

        company beneficially owned by Guangying Chen, and $27.8 million to a

        company beneficially owned by Zhao. This is summarized here:

         Binance Switzerland AG                    2019-2023        2019-2023 Select
                                                      Select           Withdrawals
                                                    Deposits

         Silvergate Bank Account

         Binance Holdings Limited                $290,950,000

         Chaintecs Consulting Singapore                                   $27,761,443
         Pte.

         Binance Europe Ltd.                                              $23,781,131

         Binary Technology Development                                    $20,612,531
         Pte.


        BINANCE HOLDINGS LIMITED

              j.     Binance Holdings Limited is a Cayman Islands company

        beneficially owned by Zhao.8 Between 2019 and 2023, deposits and

        withdrawals for these accounts exceeded $6 billion. These accounts received

        approximately $5.6 billion from Binance Holdings Limited Signature Bank

        account, $131 million from Sigma Chain, $95 million from Merit Peak Limited,

        $5 million from Key Vision, and $17 million from Binance Capital Management

        Co. Limited, and paid approximately $4.2 billion to Merit Peak, $442 million to

        Binance Capital Management Company Limited, $270 million to Binance

        (Switzerland) AG, $184 million to Sigma Chain, and $29 million to Key Vision.

        This is summarized here:


                                            8
8
    SEC-SGB-E-0022398.
          Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 9 of 27



         Binance Holdings Limited                      2019-2023    2019-2023 Select
                                                          Select       Withdrawals
                                                        Deposits

         Silvergate Bank Accounts

         Binance Holdings Limited – Signature     $5,672,812,271
         Bank

         Sigma Chain                                $131,188,691         $184,250,000

         Merit Peak                                  $95,063,978       $4,205,230,000

         Binance Capital Management Co Ltd           $17,000,500         $441,811,220

         Binance (Switzerland) AG                                        $270,000,000

         Key Vision                                   $5,000,000          $29,040,486



        BINANCE CAPITAL MANAGEMENT COMPANY LIMITED

              k.      Binance Capital Management Company Limited is a British

        Virgin Islands company beneficially owned by Zhao.9    Between 2020 and

        2023, deposits and withdrawals for these accounts exceeded $480 million,

        primarily through deposits from Binance Holdings Limited, and it paid

        approximately $36 million to Sigma Chain, and $17 million to Binance

        Holdings.

        SILVERGATE ACCOUNT CLOSURES

              l.      On December 23, 2022, Silvergate informed Binance that it would

        be closing accounts for Binance (Switzerland) AG, Sigma Chain, Binance

        Capital Management Company, and Binance Holdings Limited, and directed

        the transfer of funds to be completed by February 22, 2023, at which point the



                                            9
9
    SEC-SGB-E-0022071.
        Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 10 of 27



      accounts would be closed. As of March 31, 2023, all of the accounts had zero

      balances.


SIGNATURE ACCOUNTS

      10.   Many of the foregoing companies also held accounts at Signature Bank.

Account information from Signature Bank includes the following:

      BAM MANAGEMENT US HOLDINGS INC.

            a.    BAM Management US Holdings Inc., is a Delaware Company

      beneficially owned by Zhao. Between 2022 and 2023, deposits and withdrawals

      exceeded $350 million.

      BAM TRADING SERVICES

            b.    BAM Trading Services is a Delaware Company beneficially owned

      by Zhao. Between 2019 and2023, deposits and withdrawals exceeded $500

      million.

      MERIT PEAK LIMITED

            c.    Merit Peak bank accounts show no activity during the relevant

      period.

      KEY VISION DEVELOPMENT LIMITEDi

            d.    Key Vision is a Seychelles company beneficially owned by Zhao.

      Between 2020 and 2023, deposits and withdrawals exceeded $5.6 billion.

      BINANCE CAPITAL MANAGEMENT COMPANY LIMITED

            e.    Binance Capital Management is a British Virgin Islands company

      beneficially owned by Zhao. Between 2021 and 2023, deposits and withdrawals

      exceed $900 million. Further information is summarized as follows:
                                          10
  Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 11 of 27



Binance Capital Management                    2021-2023         2021-2023
Company Limited                                  Select            Select
                                               Deposits      Withdrawals

Signature Bank Accounts

Binance Holdings Limited                   $783,000,000        $50,069,978

Swipewallet EU OU                           $45,564,454          $9,000,000

Cyber Shaft Enterprises Limited               $4,695,079

Zhao Changpeng                                                 $62,500,000

INSURED AIRCRAFT TITLE                                         $54,705,000
SERVICE, LLC

Flowbank SA FFC Binary Technology                              $46,975,166
Development PTE Ltd


BINANCE HOLDINGS LIMITED

      f.     Binance Holdings Limited is a Cayman company beneficially

owned by Zhao. Between 2020 and 2022, deposits and withdrawals were

approximately $12 billion. Further information is summarized as follows:

Binance Holdings Limited                      2020-2022       2020-2022 Select
                                                 Select          Withdrawals
                                               Deposits

Signature Bank Accounts

Bifinity UAB                              $6,546,897,038

Worldpay B.V.                             $1,859,393,758

Wallet ID: xxxx                           $2,807,113,068

Binance Holdings Limited                                        $5,557,501,000

Merit Peak                                                      $2,586,980,000

SWIPEWALLET EU OU                                               $1,237,000,000


                                   11
          Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 12 of 27



         Binance Capital Management Co. Ltd.                                   $714,000,000

         Binance Investments Company                                           $199,000,000
         Limited

         Prime Link Management Limited                                         $105,000,000

         Binance Holdings (IE) Limited                                          $57,000,000

         Binance Technologies Limited                                           $27,000,000

         Binance (Services) Holdings Limited                                    $27,000,000

         Binance Technologies Limited                                           $20,000,000


        OTHER SIGNATURE BANK ACCOUNTS HELD BY ZHAO-OWNED
        ENTITIES

              g.    Zhao was also the beneficial owner of numerous other foreign

        companies with accounts at Signature Bank. These companies are foreign

        domiciled, including in Canada, UAE, Seychelles, Singapore, Lithuania,

        Kazakhstan, among others. These accounts were opened by a Binance.com

        employee, with Zhao as the listed beneficial owner, and Guangying Chen as the

        listed signatory. Some of these companies have “Binance” in their company

        name. Other companies do not bear the Binance name, but accounts were

        opened in the same fashion, listing Zhao as the beneficial owner and

        Guangying Chen as the signatory. Their links to Binance are consistent with a

        Binance organization chart10.




                                            12
10
     BHL-SEC-BUSD-0289617.
        Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 13 of 27




SIGNIFICANT TRANSFERS

      11.    Binance Holdings Limited and Binance Capital Management show large

deposits and withdrawals from and to Signature accounts for some Zhao-owned

companies, and hundreds of millions of dollars have been transferred.

      BIFINITY UAB TRANSFERS BILLIONS OF DOLLARS TO BINANCE
      COMPANIES

             a.    Bifinity UAB (fka Binance UAB) is a company located in

      Lithuania and beneficially owned by Zhao. The account opening documents

      state that Bifinity UAB is in the business of “provid[ing] revenue collection for

      Binance operators” conducting business in “Germany, UK, Netherlands and

      Switzerland.” The listed signatories on Bifinity accounts include Guangying

      Chen, and the account was opened by someone from Binance.com.11

             b.    Between 2020 and 2022, Bifinity UAB paid $6.5 billion to a

      Binance Holdings Limited account. In 2021, that Binance Holdings Limited

      account received $3 billion from Bifinity and $1.8 billion from WorldPay,12

      making up the majority of deposits for the year. That money was transferred

      in 2021 out of Binance Holdings Limited to Merit Peak in direct wires for $2.5

      billion and transferred $4.8 billion to another Binance Holdings account at

      Silvergate, which paid Merit Peak another $3.7 billion.



                                           13
11
   SIGB-H-0001-00000063.
12
   WorldPay is a payments processing company that purports to provide Crypto
trading platforms with the ability to move fiat money in and out of cryptocurrency.
[https://www.protocol.com/fintech/worldpay-crypto-payments]. WorldPay paid
Binance Holdings Limited $1.76 billion in 2021.
  Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 14 of 27



2021 Significant movements of money                    Select             Select
between Zhao-owned entities                          Deposits       Withdrawals

Binance Holdings Limited Signature
Bank Account

From Bifinity UAB Signature Bank Account $3,012,000,000

From Worldpay B.V.                              $1,859,393,757

To Binance Holdings Limited Silvergate                             $4,879,000,000
Bank Account

To Merit Peak Silvergate Account                                   $2,586,980,000



Binance Holdings Limited Silvergate
Bank
From Binance Holdings Limited Signature         $4,880,495,434
Bank

To Merit Peak Silvergate Bank Account                              $3,735,000,000


      c.     In 2022, Bifinity transferred another $3.5 billion to the same

Binance Holdings Limited account. $1.2 billion was transferred to an account

held by Swipewallet EU OU, another Zhao-owned company. Bifinity sent

another $304 million directly to Swipewallet. Swipewallet thereafter sent $1.5

billion in outgoing FX wires, in which USD is converted into a foreign currency

before transmitting to the beneficiary.

      d.     As for the rest of the money transferred by Bifinity, Binance

Holdings Limited distributed approximately $911 million to other Binance

Holdings accounts, $697 million to Binance Capital Management, and more

than $415 million to other Zhao-owned companies. One of those Zhou-owned

entities thereafter paid $62.5 million to a personal account held by Zhao, and


                                     14
  Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 15 of 27



in mid-March 2023 paid almost $47 million to a company beneficially owned by

Guangying Chen. On March 14, 2023, that account wired $29,613,891.93 to an

account held by Binance AP Holdings which was then wired out to the

company owned by Guangying Chen that same day, transfers that are

summarized here:

2022 Significant movements of money               Select               Select
between Zhao-owned entities                     Deposits         Withdrawals

Binance Holdings Limited Signature
Bank Account

From Bifinity UAB Signature Bank           $3,534,897,037
Account



To Swipewallet Eu Ou Signature Bank                             $1,237,000,000
Account

To Binance Holdings Limited Accounts

    ‐   Binance Holdings Limited                                  $463,000,000
        Silvergate Bank Account

    ‐   Binance Holdings Limited                                      448,000,000
        Signature Bank Account

    ‐   Sub-total                                                 $911,000,000

To Binance Capital Management Co. Ltd.                                697,000,000
Signature Bank Account

To Zhao-owned companies

    ‐   Binance Investments Co. Ltd.                                  162,000,000
        Signature Bank Account

    ‐   Prime Link Management Limited                                 $85,000,000
        Signature Bank Account

    ‐   Binance Holdings (IE) Limited                                 $57,000,000
        Signature Bank Account



                                   15
 Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 16 of 27



2022 Significant movements of money           Select              Select
between Zhao-owned entities                 Deposits        Withdrawals

   ‐   Binance Technologies Limited                           $27,000,000
       Signature Bank Account

   ‐   Binance (Services) Holdings                            $27,000,000
       Limited Signature Bank Account

   ‐   Swipewallet EU OU Signature                            $23,400,000
       Bank Account

   ‐   Binance Technologies Limited                           $20,000,000
       Signature Bank Account

   ‐   Other                                                  $13,695,750

   ‐   Sub-total                                             $415,095,750



Swipewallet EU OU Signature Bank
Account
From Binance Holdings Limited           $1,273,000,000
Signature Bank

From Bifinity UAB Silvergate Bank        $304,000,000
Account

To Outgoing FX Wire                                         $1,575,816,134



Binance Capital Management Co.
Ltd. Signature Bank Account
(includes select 2023 withdrawals
totaling $79,089,058*)

From Binance Holdings Limited            $697,000,000
Signature Bank Account

To Zhao Changpeng Signature Bank                             $62,500,000*
Account ($60m in 2022 and $2.5m in
2023)

To Flowbank SA FFC Binary Technology                         $46,975,166*
Development PTE Ltd (a company
beneficially owned by Guangying Chen)

                                 16
         Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 17 of 27



       2022 Significant movements of money                    Select                Select
       between Zhao-owned entities                          Deposits          Withdrawals

       To Binance (AP) Holding Limited                                         $29,613,892*
       Signature Bank Account; further
       transferred from Binance (AP) Holdings
       Limited on March 14, 2023 to Flowbank
       SA FFC FFC Binary Technology
       Development PTE Ltd (a company
       beneficially owned by Guangying Chen)


BINANCE COMMINGLED FUNDS AT MERIT PEAK FOR FURTHER TRANSFER
TO PAXOS

      12.    Millions of dollars from Binance related accounts were commingled in

Merit Peak’s accounts. For example, in 2021, funds from Key Vision ($11.05 billion),

Prime Trust ($1.1 billion) (through BAM Trading) and Bifinity UAB ($6.3 billion)

(through Binance Holdings Limited) were transferred to Merit Peak and Merit Peak

transferred all of that money as part of its transfers of almost $20 billion to a foreign

affiliate of Paxos in 2021, summarized as follows:

 2021 Merit Peak Select Account                      Select Deposits    Select Withdrawals
 Activity

 Merit Peak Silvergate Bank Account

 From Key Vision Development Limited                 $ 11,054,700,000

 From Binance Holdings Limited                        $ 6,321,980,000

 From BAM Trading Services Inc.                       $1,154,753,502

 To Paxos Global PTE Ltd                                                      $19,975,961,032


LARGE AMOUNTS OF MONEY MOVE ACROSS BINANCE AND ZHAO-OWNED
BANK ACCOUNTS

      13.    The transactions in many of the Binance or Zhao-owned company

accounts held at Silvergate Bank and Signature Bank show large amounts of money


                                             17
              Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 18 of 27



flowing in and out of the accounts. The large incoming credits are followed by

outgoing debits within days, with the result that the accounts maintain a relatively

much lower balance at month’s beginning and end.

         14.        For example, in one Silvergate Binance Holdings 2022 account

statement, money is credited monthly from another Binance Holdings account,

accounting for most of monthly credits, and most of those credits are debited to

Binance Capital Management Limited and Binance Switzerland in interbank

transfers. In February 2022, for example, the account has a beginning balance of

$7.6M and an ending balance of $7.7M, but in that month $20 million was deposited

from another Binance Holdings account, $11M was wired to Binance Switzerland AG,

and $6M was wired to Binance Capital Management, as summarized here:

Feb 2022 Binance Holdings Limited Silvergate                                        Deposits           Withdrawals
Bank Account

From Binance Holdings Limited                                                     $20,000,000

To Binance (Switzerland) AG                                                                             $11,000,000

To Binance Capital Management Co Ltd                                                                     $6,000,000

Other                                                                                 $94,478            $2,944,633

Total                                                                             $20,094,478           $19,944,633


         15.        This pattern of money flow repeats over months, as summarized here:

 Month         Op Bal U$             Credits #   Credits US$           Debits #      Debits US$         Cl Bal US$
    Jun‐19                  $0.00            2       $500,100.00              4           $10,100.00       $489,990.00
     Jul‐19           $489,990.00            1      $1,000,000.00            18          $984,795.78       $505,194.22
    Aug‐19            $505,194.22            0                 $0.00         30          $285,127.80       $220,066.42
    Sep‐19            $220,066.42            4      $1,234,385.00            78          $880,946.78       $573,504.64
    Oct‐19            $573,504.64            8      $1,017,019.00            38        $1,221,165.05       $369,358.59
    Nov‐19            $369,358.59            6      $2,029,321.10           126        $1,414,107.41       $984,572.28
    Dec‐19            $984,572.28           14       $843,123.60             86        $1,118,487.47       $709,208.41
    Jan‐20            $709,208.41           32      $4,125,860.47           110        $2,393,223.98     $2,441,844.90
    Feb‐20           $2,441,844.90          24    $13,198,338.39            128        $3,269,227.65    $12,370,955.64


                                                               18
              Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 19 of 27


 Month         Op Bal U$             Credits #   Credits US$         Debits #    Debits US$          Cl Bal US$
   Mar‐20           $12,370,955.64          38     $38,782,117.78         116     $38,403,462.96     $12,749,610.46
    Apr‐20          $12,749,610.46          32     $37,816,051.50         104     $33,842,419.03     $16,723,242.93
   May‐20           $16,723,242.93          29     $15,676,090.45         106     $19,467,858.76     $12,931,474.62
    Jun‐20          $12,931,474.62          90     $40,970,092.70         104     $20,622,814.43     $33,278,752.89
     Jul‐20         $33,278,752.89          80     $49,078,856.96         122     $24,545,274.51     $57,812,335.34
    Aug‐20          $57,812,335.34          68     $96,371,547.65         145     $93,282,559.04     $60,901,323.95
    Sep‐20          $60,901,323.95          44    $123,915,287.67         116     $95,746,400.45     $89,070,211.17
    Oct‐20          $89,070,211.17          31     $55,147,022.33         166     $20,301,712.96    $123,915,520.54
    Nov‐20         $123,915,520.54          35     $62,021,156.50         146     $81,150,012.04    $104,786,665.00
    Dec‐20         $104,786,665.00          20     $91,943,354.54         175    $129,090,458.91     $67,639,560.63
    Jan‐21          $67,639,560.03          26    $183,316,090.57         143    $182,693,697.50     $68,261,953.70
    Feb‐21          $68,261,953.70          22    $156,404,925.86         111    $174,525,739.29     $50,141,140.27
   Mar‐21           $50,141,140.27          13    $445,542,017.62         157    $390,911,068.29    $104,772,089.60
    Apr‐21         $104,772,089.60          13    $730,177,804.24         181    $727,463,722.90    $107,486,170.94
   May‐21          $107,486,170.94          19    $607,146,622.44         155    $699,651,009.08     $14,981,784.30
    Jun‐21          $14,981,784.30          22   $1,345,148,277.92        190   $1,356,483,954.81     $3,646,107.41
     Jul‐21          $3,646,107.41          11    $689,091,808.59         175    $653,516,941.58     $39,220,974.42
    Aug‐21          $39,220,974.42          10    $201,614,930.58         141    $194,182,505.70     $46,653,399.30
    Sep‐21          $46,653,399.30           8    $131,746,373.38         138    $162,680,683.28     $15,719,089.40
    Oct‐21          $15,719,089.40          14    $182,695,791.41         141    $176,397,036.13     $22,017,844.68
    Nov‐21          $22,017,844.68          12    $170,671,158.88         124    $178,499,424.54     $14,189,579.02
    Dec‐21          $14,189,579.02          20    $213,074,672.89         112    $220,832,010.62      $6,432,241.29
    Jan‐22           $6,432,241.29           8    $125,131,745.39          95    $123,952,326.66      $7,611,660.02
    Feb‐22           $7,611,660.02           5     $20,094,477.98          85     $19,944,633.00      $7,761,505.00
   Mar‐22            $7,761,505.00          10     $63,055,614.46         118     $68,472,212.11      $2,344,907.35
    Apr‐22           $2,344,907.35           8     $30,082,889.11          71     $26,153,168.03      $6,274,628.43
   May‐22            $6,274,628.43           6     $20,029,852.77          96     $25,375,756.65        $928,724.55
    Jun‐22            $928,724.55            7     $30,117,791.61          86     $25,600,996.25      $5,445,519.91
     Jul‐22          $5,445,519.91           5     $75,001,495.75          70     $72,794,948.93      $7,652,066.73
    Aug‐22           $7,652,066.73           4     $35,029,287.89         109     $33,437,711.77      $9,243,642.85
    Sep‐22           $9,243,642.85           9     $30,207,449.20         114     $30,444,908.01      $9,006,184.04
    Oct‐22           $9,006,184.04           4     $35,006,000.00         105     $31,721,664.67     $12,290,519.37
    Nov‐22          $12,290,519.37          10     $23,711,567.49          66     $35,520,037.16        $482,049.70
    Dec‐22            $482,049.70           13     $42,446,512.27          56     $42,533,743.53        $394,818.44
    Jan‐23            $394,818.44           14     $26,595,081.18          50     $26,833,171.71        $156,727.91
    Feb‐23            $156,727.91           15     $22,171,640.58          38     $22,323,256.39          $5,112.10


         16.        At times the amounts being credited and debited during a single month

amounts to movement of more than a billion dollars. For example, in July 2021, one

Signature Bank Binance Holdings account shows a starting balance of $468 million,

deposits of $1 billion, withdrawals of $1.3 billion, and an ending balance of $179

million. Incoming wires come from WorldPay and are paid out to Merit Peak,

                                                               19
              Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 20 of 27



another Binance Holdings account and other assorted payments in wires ranging

from $10 million to $100 million increments.

 July 2021 Binance Holdings Limited                                                      Deposits              Withdrawals
 Signature Bank Account

 From Wallet ID:xxxx                                                                  $561,043,603

 From Wallet ID: xxxx                                                                 $265,807,069

 From WORLDPAY B.V.                                                                   $169,925,973

 From UAB FINANSINES PASLAUGOS CONTIS                                                  $29,999,985

 To Binance Holdings Limited Silvergate Bank                                                                    $689,000,000
 Account

 To Merit Peak Limited Silvergate Bank                                                                          $569,980,000

 To UAB FINANSINES PASLAUGOS CONTIS                                                                              $30,000,000

 To Amazon Web Services, Inc. ACCT                                                                               $15,000,000

 To Stifel Bank                                                                                                  $10,877,039

 Total                                                                           $1,026,776,630                $1,314,857,039


            17.     A monthly summary of this Binance Holdings Limited account shows

the following:

 Month       Op Bal U$                   Credits #   Credits US$           Debits #       Debits US$             Cl Bal US$

  Mar‐20                        $0.00            0                 $0.00          0                    $0.00                  $0.00
  Apr‐20                        $0.00            3      $2,010,000.00             0                    $0.00      $2,010,000.00
 May‐20                  $2,010,000.00           0                 $0.00          0                    $0.00      $2,010,000.00
  Jun‐20                 $2,010,000.00           6         $30,441.41             4              $7,192.42        $2,033,248.99
   Jul‐20                $2,033,248.99          17      $1,886,088.85             0                    $0.00      $3,919,337.44
  Aug‐20                 $3,919,337.84          20     $12,844,171.94             0                    $0.00     $16,763,509.78
  Sep‐20             $16,763,509.78             42     $65,278,772.49             8         $65,500,000.00       $16,542,282.27
  Oct‐20             $16,542,282.27             26     $39,050,895.54             4         $30,000,100.00       $25,593,077.81
  Nov‐20             $25,593,077.81             24     $61,431,540.62             3         $30,000,000.00       $57,024,618.43
  Dec‐20             $57,024,618.43             25    $157,424,176.73            13        $119,600,200.00       $94,848,595.16
  Jan‐21             $94,848,595.16             23    $229,631,928.69            17        $170,000,000.00      $154,480,523.85
  Feb‐21            $154,480,523.85             20    $215,548,479.94             8        $120,000,000.00      $250,029,003.79
  Mar‐21            $250,029,003.79             25    $290,254,504.27             6        $440,000,000.00      $100,283,508.56
  Apr‐21            $100,283,508.56             24    $715,253,589.87             7        $700,000,000.00      $115,537,098.43
 May‐21             $115,537,098.43             20    $984,363,749.60            11        $608,040,407.68      $491,860,440.35

                                                               20
              Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 21 of 27


Month        Op Bal U$                   Credits #   Credits US$         Debits #   Debits US$           Cl Bal US$

  Jun‐21            $491,860,440.35             24   $1,276,087,954.04         15   $1,300,000,000.00    $467,948,394.39
   Jul‐21           $467,948,394.39             32   $1,026,776,629.74         16   $1,314,857,039.46    $179,867,984.67
  Aug‐21            $179,867,984.67             20    $595,678,358.63          14    $770,736,128.84       $4,810,214.46
  Sep‐21                 $4,810,214.46          18   $1,547,000,000.00         24   $1,546,000,000.00      $5,810,214.46
  Oct‐21                 $5,810,214.46           8    $460,000,000.00          16    $455,000,000.00      $10,810,214.46
 Nov‐21              $10,810,214.46              9    $290,000,000.00          14    $294,000,100.00       $6,810,114.46
  Dec‐21                 $6,810,114.46          11    $285,000,000.00          12    $290,000,000.00       $1,810,114.46
  Jan‐22                 $1,810,114.46           9    $235,000,000.00          14    $234,000,000.00       $2,810,114.46
  Feb‐22                 $2,810,114.46          11    $230,000,000.00          17    $228,000,000.00       $4,810,114.46
 Mar‐22                  $4,810,114.46          12    $325,000,000.00          26    $328,050,000.00       $1,760,114.46
  Apr‐22                 $1,760,114.48          12    $374,000,000.00          16    $374,200,000.00       $1,560,114.46
 May‐22                  $1,560,114.46          16   $1,105,359,334.17         17    $276,050,000.00     $830,869,448.63
  Jun‐22            $830,869,448.63                                            22    $194,210,000.00     $636,659,448.63
   Jul‐22           $636,659,448.63              1          $2,230.00          15    $217,700,000.00     $418,961,678.63
  Aug‐22            $418,961,678.63              1            $760.00          24    $265,555,750.08     $153,406,688.55
  Sep‐22            $153,406,688.55              2    $446,330,382.26          27    $345,200,000.00     $254,537,070.81


THE WIND DOWN AND TRANSFER OF FUNDS

            18.     On January 1, 2023, eight Binance/Zhao-owned companies had $58.7

million on deposit. During that same time frame, $840 million was deposited into,

and $899 million was withdrawn, from those accounts. At the end of March, those

accounts had a zero balance except for one account with $180,000. Between January

and March 2023, multiple Binance accounts paid Binary Technology Development

Private Limited more than $162 million in offshore wires, as summarized here:

 Paying Entity                                                               Beneficiary FI - Flowbank SA
                                                                                 London FFIC Binary
                                                                             Technology Development PTE
                                                                                         LTD
                                                                                              US$

 BINANCE CAPITAL MANAGEMENT CO                                                                          $46,975,166

 BINANCE HOLDINGS LIMITED                                                                               $45,000,000

 BINANCE HOLDINGS LIMITED                                                                               $37,945,943

 BINANCE (AP) HOLDINGS LIMITED                                                                          $29,613,892

                                                               21
           Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 22 of 27



 Paying Entity                                      Beneficiary FI - Flowbank SA
                                                        London FFIC Binary
                                                    Technology Development PTE
                                                                LTD
                                                                   US$

 BINANCE HOLDINGS (IE) LIMITED                                              $1,686,560

 BINANCE (SERVICES) HOLDINGS                                                $1,122,835

 BINANCE INVESTMENTS CO. LTD                                                    $2,200

                                                                         $162,346,596


      19.     As of May 27, 2023 all of these accounts have been closed or have a $0

balance.




      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.


   Executed on June 5, 2023 in Washington, D.C.




                                                    ______________________________
                                                          Sachin Verma




                                           22
                                          Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 23 of 27


Attachment 1

Bank Account Activity in select Binance related accounts at Silvergate Bank and Signature Bank

Bank            Entity                                            Account    Deposits # Deposits US$       Withdrawals # Withdrawals US$ First Transaction Date Last Transaction Date
Silvergate Bank BINANCE HOLDINGS LIMITED                          xxxxxx6709      866       $6,270,981,606        4,845      $6,270,976,494          6/13/2019              2/22/2023
Silvergate Bank BINANCE HOLDINGS LIMITED                          xxxxxx6717        34        $146,203,978           26        $146,203,978          6/21/2019              8/24/2020
                                                                                            $6,417,185,584                   $6,417,180,472

Signature Bank BINANCE HOLDINGS LIMITED                           xxxxxx5685          464        $11,795,340,667     393    $11,513,836,918           4/27/2020           10/28/2022
Signature Bank BINANCE HOLDINGS LIMITED                           xxxxxx7894           31          $464,452,500      291      $463,936,859           12/17/2021           10/27/2022
                                                                                                 $12,259,793,167            $11,977,773,777

TOTAL ‐ BINANCE HOLDINGS LIMITED                                                                 $18,676,978,750            $18,394,954,249

Silvergate Bank BINANCE CAPITAL MANAGEMENT CO LTD                 xxxxxx1220          145          $484,131,038     2,080      $483,131,038           2/24/2020            2/22/2023

Signature Bank Binance Capital Management Co. LTD                 xxxxxx7217           11           $17,196,736      150        $17,196,736           8/13/2021            1/25/2023
Signature Bank Binance Capital Management Co. LTD                 xxxxxx7908           61          $904,981,456      308       $904,981,456          12/29/2021            3/20/2023
                                                                                                   $922,178,192                $922,178,192

TOTAL ‐ BINANCE CAPITAL MANAGEMENT CO. LTD                                                        $1,406,309,230             $1,405,309,230

Silvergate Bank   BAM MANAGEMENT US HOLDINGS INC                  xxxxxx7846           47          $276,818,473        30      $276,818,473           3/22/2022             2/3/2023
Silvergate Bank   BAM MANAGEMENT US HOLDINGS INC                  xxxxxx4563          339          $260,852,762     2,801      $260,852,762           4/30/2019            2/22/2023
Silvergate Bank   BAM MANAGEMENT US HOLDINGS INC                  xxxxxx9810            6            $9,500,000         6        $9,500,000           1/22/2020            7/20/2020
Silvergate Bank   BAM MANAGEMENT US HOLDINGS INC                  xxxxxx7853           21                 $586         83             $586            8/17/2022            2/22/2023
                                                                                                   $547,171,821                $547,171,821

Signature Bank    BAM MANAGEMENT US HOLDINGS INC                  xxxxxx0684           24          $336,763,392       24       $336,094,401           5/24/2022             4/4/2023
Signature Bank    BAM MANAGEMENT US HOLDINGS INC                  xxxxxx8310           34           $13,436,798      316        $12,704,912           1/24/2023             4/5/2023
Signature Bank    BAM MANAGEMENT US HOLDINGS INC                  xxxxxx3338            2                 $453         1              $453             2/3/2023            3/30/2023
Signature Bank    BAM MANAGEMENT US HOLDINGS INC                  xxxxxx3346            1                   $92        1                $92           2/22/2023            3/30/2023
                                                                                                   $350,200,735                $348,799,857

TOTAL ‐ BAM MANAGEMENT US HOLDINGS INC.                                                            $897,372,556                $895,971,678

Silvergate Bank   BAM TRADING SERVICES INC. SEN ACCOUNT           xxxxxx3432       22,629        $10,069,945,157   22,989   $10,069,945,157            7/2/2020            2/21/2023
Silvergate Bank   BAM TRADING SERVICES INC.                       xxxxxx1295       17,886          $625,601,386    12,260     $625,601,386            8/26/2021            2/22/2023
Silvergate Bank   BAM TRADING SERVICES INC.                       xxxxxx6245          904          $479,138,011    14,410     $479,138,011            8/26/2021             3/6/2023
Silvergate Bank   BAM TRADING SERVICES INC.                       xxxxxx1113          979          $463,137,117     5,877     $463,137,117           12/30/2019            2/22/2023
Silvergate Bank   BAM TRADING SERVICES INC.                       xxxxxx7416          259            $33,718,466        7       $33,718,466           1/21/2022             2/9/2023
Silvergate Bank   BAM TRADING SERVICES INC.                       xxxxxx1377            7             $6,750,000        3           $83,192           9/22/2021             3/6/2023
Silvergate Bank   BAM TRADING SERVICES INC.                       xxxxxx1121            2             $1,000,100      ‐                  $0          12/30/2019             2/3/2023
                                           Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 24 of 27


Silvergate Bank BAM TRADING SERVICES INC.                             xxxxxx3424        2              $526         4              $526     9/29/2020    2/3/2023
                                                                                             $11,679,290,764             $11,671,623,856

Signature Bank   BAM TRADING SERVICES INC.                            xxxxxx5315       28      $230,931,536       382      $229,250,897    11/25/2019    4/5/2023
Signature Bank   BAM TRADING SERVICES INC.                            xxxxxx2547      135      $191,814,339       243      $187,670,282    10/21/2022    4/5/2023
Signature Bank   BAM TRADING SERVICES INC.                            xxxxxx2555      208       $45,404,285         4       $39,100,000     7/27/2022    4/4/2023
Signature Bank   BAM TRADING SERVICES INC.                            xxxxxx5323      185       $30,888,393       238       $27,789,032     5/31/2022    4/4/2023
Signature Bank   BAM TRADING SERVICES INC.                            xxxxxx5331        7       $15,139,830         5       $15,139,593     5/31/2022    4/4/2023
Signature Bank   BAM TRADING SERVICES INC.                            xxxxxx7211        4        $6,005,270         2            $5,270     11/1/2022    4/4/2023
Signature Bank   BAM TRADING SERVICES INC. (Collateral Account)       xxxxxx6907        2        $1,238,101         1         $238,001     12/12/2019    4/4/2023
                                                                                               $521,421,755                $499,193,075

TOTAL ‐ BAM TRADING SERVICES INC.                                                            $12,200,712,519             $12,170,816,931

Silvergate Bank Merit Peak Limited                                    xxxxxx5271     1,122   $21,947,605,072      882    $21,947,605,072    4/18/2019   12/8/2021
Silvergate Bank Merit Peak Limited                                    xxxxxx5263       230     $287,729,139       190      $287,729,139     5/20/2019   12/7/2021
                                                                                             $22,235,334,211             $22,235,334,211

Signature Bank MERIT PEAK LIMITED                                     xxxxxx3512        1              $100         1              $100      5/6/2021   2/17/2023

TOTAL ‐ MERIT PEAK LIMITED                                                                   $22,235,334,311             $22,235,334,311

Silvergate Bank KEY VISION DEVELOPMENT LIMITED                        xxxxxx5981     7,323   $11,288,369,703       408   $11,288,369,703    9/30/2020   6/18/2021
Silvergate Bank KEY VISION DEVELOPMENT LIMITED                        xxxxxx6500   197,206    $2,086,776,079    43,183    $2,086,776,079   10/16/2020   7/23/2021
                                                                                             $13,375,145,782             $13,375,145,782

Signature Bank KEY VISION DEVELOPMENT LIMITED                         xxxxxx6221   512,239    $5,366,444,576   134,836    $5,366,444,576    8/10/2021   2/13/2023
Signature Bank KEY VISION DEVELOPMENT LIMITED                         xxxxxx9952         1             $500        ‐                  $0    8/19/2020   8/19/2020
Signature Bank KEY VISION DEVELOPMENT LIMITED                         xxxxxx6795         9     $250,017,808         17     $250,000,000      1/4/2022   4/13/2022
                                                                                              $5,616,462,884              $5,616,444,576

TOTAL ‐ KEY VISION DEVELOPMENT LIMITED                                                       $18,991,608,666             $18,991,590,358

Silvergate Bank SIGMA CHAIN AG                                        xxxxxx6683       168      493,632,676       664       493,627,065     6/13/2019   2/22/2023

Silvergate Bank BINANCE (SWITZERLAND) AG                              xxxxxx6667      135      $308,644,449       702      $308,644,448     6/13/2019   2/22/2023


* Deposits and withdrawals totals include data up to March 31, 2023
               Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 25 of 27


Attachment 2

Select Information from Silvergate Bank Account Opening and Corporate Documents

                       Corporate                                                                       Bank Accounts
Entity                 Domicile         Accounts               Beneficial Owner    Principal Officers* Signatory*
Binance Holdings       Delaware         xxxxxx6709             Changpeng Zhao      Guangying Chen      Changpeng Zhao
Limited                                 xxxxxx6717 (SEN)                                               Guangying Chen
Binance Capital        British Virgin   xxxxxx1220             Changpeng Zhao      Changpeng Zhao      Changpeng Zhao
Management             Islands                                                                         Guangying Chen
Company Limited
BAM Management US      Delaware         xxxxxx7846             BAM Management Wei Zhou               Wei Zhou
Holdings, Inc.                          xxxxxx4563             Company Limited                       Catherine Coley
                                        xxxxxx9810 (SEN)                                             Joshua Sroge
                                        xxxxxx7853                                                   William Plon
                                                                                                     Brian Shroder
                                                                                                     Jasmine Yoonjung
                                                                                                     Lee
BAM Trading Services, Delaware          xxxxxx3432 (SEN)       BAM Management Guangying Chen         Guangying Chen
Inc.                                    xxxxxx1295             US Holdings, Inc.                     Jasmine Yoonjung
                                        xxxxxx6245                                                   Lee
                                        xxxxxx1113                                                   Brian Walker
                                        xxxxxx7416                                                   Shroder
                                        xxxxxx1377                                                   Catherine Coley
                                        xxxxxx1121                                                   Elaine Stone
                                        xxxxxx3424                                                   Joshua Sroge
                                                                                                     William Plon
Binance Switzerland    Switzerland      xxxxxx6667             Changpeng Zhao      Guangying Chen    Changpeng Zhao
AG                                      xxxxxx6675 (SEN)                                             Guangying Chen
Merit Peak Limited     British Virgin   xxxxxx5271 (SEN)      Changpeng Zhao       Leslie Tam        Changpeng Zhao
                       Islands          xxxxxx5263                                 Vincent Kwok      Guangying Chen
                                                                                   Guangying Chen
Sigma Chain            Switzerland      xxxxxx6683             Changpeng Zhao      Guangying Chen    Guangying Chen
                                        xxxxxx6691 (SEN)
Key Vision          Seychelles          xxxxxx5981 (SEN)      Changpeng Zhao       Changpeng Zhao    Changpeng Zhao
Development Limited                     xxxxxx6500                                 Guangying Chen    Guangying Chen


* At least for one of several acocunts and for some points during the relevant period
                    Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 26 of 27


Attachment 3

Select Information from Signature Bank Account Opening and Corporate Documents

                         Corporate
Entity                   Domicile       Accounts       Beneficial Owner   Principal Officers* Bank Accounts Signatory*
Binance Holdings         Cayman Islands xxxxxx5685     Changpeng Zhao     Guangying Chen      Guangying Chen
Limited                                 xxxxxx7894                                            Kaiser Ying Kit NG
                                        xxxxxx5693
Binance Capital          British Virgin xxxxxx7908     Changpeng Zhao     Guangying Chen     Guangying Chen
Management               Islands        xxxxxx7217                                           Kaiser Ying Kit NG
Company Limited
BAM Management US Delaware                xxxxxx0684   Changpeng Zhao                        William Plon
Holdings, Inc.                            xxxxxx8310                                         Jasmine Lee
                                          xxxxxx3338                                         Brian Shroder
                                          xxxxxx3346
BAM Trading Services, Delaware            xxxxxx5315   Changpeng Zhao                        Guangying Chen
Inc.                                      xxxxxx2547                                         Catherine Coley
                                          xxxxxx2555                                         William Plon
                                          xxxxxx5323                                         Jasmine Lee
                                          xxxxxx5331
                                          xxxxxx7211
                                          xxxxxx6907
Bifinity UAB (fka        Lithuania        xxxxxx9360   Changpeng Zhao                        Changpeng Zhao
Binance UAB)                              xxxxxx7924                                         Guangying Chen
                                          xxxxxx8615                                         Kaiser Ying Kit NG
                                          xxxxxx8381                                         Saulius Galatiltis
Merit Peak Limited       British Virgin   xxxxxx3512   Changpeng Zhao                        Guangying Chen
                         Islands          xxxxxx3520
Key Vision               Seychelles       xxxxxx6221   Changpeng Zhao                        Guangying Chen
Development Limited                       xxxxxx9952
                                          xxxxxx6795
SWIPEWALLET EU OU Estonia                 xxxxxx7878   Changpeng Zhao                        Guangying Chen
                                          xxxxxx7886   (80%)                                 Kaiser Ying Kit Ng
                                          xxxxxx7319                                         Joselito Lizarondo
                                          xxxxxx7327
Cyber Shaft Enterprise   Virgin Islands   xxxxxx7993   Changpeng Zhao                        Kaiser Ying Kit Ng
Limited                  (UK)
Binary Technology        Singapore        xxxxxx1441   Guangying Chen                        Guangying Chen
Development PTE                                                                              Adrian Rhui Keong
Limited                                                                                      Darren Makarem
Binance Investment       Seychelles       xxxxxx2361   Changpeng Zhao                        Guangying Chen
Company Limited
Prime Link               Virgin Islands   xxxxxx7225   Changpeng Zhao                        Guangying Chen
Management Limited       (UK)             xxxxxx7916                                         Kaiser Ying Kit NG


Binance Holdings (IE) Ireland             xxxxxx7139   Changpeng Zhao                        Kaiser Ying Kit Ng
Limited
Binance Technologies Ireland              xxxxxx2030   Changpeng Zhao                        Guangying Chen
Limited                                                                                      Kaiser Ying Kit NG


Binance (Services)    Ireland             xxxxxx4989   Changpeng Zhao                        Kaiser Ying Kit Ng
Holdings Limited
Binance (AP) Holdings Ireland             xxxxxx8000   Changpeng Zhao                        Kaiser Ying Kit Ng
Limited
                 Case 1:23-cv-01599-ABJ Document 21 Filed 06/07/23 Page 27 of 27


Binance Asia Services Singapore         xxxxxx6693         Changpeng Zhao               Guangying Chen
Pte Ltd                                                                                 Adrian Rhui Keong
                                                                                        Darren Makarem

Binance Canada Asset Canada             xxxxxx9031         Changpeng Zhao               Guangying Chen
Management Inc                          xxxxxx9325                                      Lawrence Trong Loung Truong
                                                                                        Susan Scullion
Binance Canada         Canada           xxxxxx9058         Changpeng Zhao               Guangying Chen
Capital Markets Inc                     xxxxxx0912                                      Lawrence Trong Loung Truong
                                        xxxxxx9333                                      Susan Scullion
Binance Canada         Canada           xxxxxx9066         Changpeng Zhao               Guangying Chen
Holdings Limited                        xxxxxx9341                                      Lawrence Trong Loung Truong
                                                                                        Susan Scullion
Binance Canada         Canada           xxxxxx9368         Changpeng Zhao               Guangying Chen
Limited                                 xxxxxx9074                                      Lawrence Trong Loung Truong
                                                                                        Susan Scullion
Binance (AD) Limited UAE                xxxxxx7814         Changpeng Zhao               Guangying Chen
                                                                                        Dominic Longman
Binance FZE            UAE              xxxxxx8934         Changpeng Zhao               Guangying Chen
                                                                                        Alexander Chehade
BV Investment        UAE                xxxxxx9795         Changpeng Zhao               Guangying Chen
Management Limited                                                                      Vishal Sacheendran
BWIN Private Limited Singapore          xxxxxx0808         Changpeng Zhao               Guangying Chen




Chaintecs Consulting Singapore          xxxxxx1433         Changpeng Zhao               Guangying Chen
Singapore Private                                                                       Kaiser Ying Kit Ng
Limited                                                                                 Adrian Rhui Keong
                                                                                        Darren Makarem
Infozone Technologies Singapore         xxxxxx1277         Changpeng Zhao               Guangying Chen
Private Limited                                                                         Adrian Rhui Keong
                                                                                        Darren Makarem

Tornado Singapore      Singapore        xxxxxx0350         Changpeng Zhao               Guangying Chen
Technologies Private                                       (80%)                        Adrian Rhui Keong
Limited                                                                                 Darren Makarem

BN KZ Technologies     Kazakhstan       xxxxxx8810         Changpeng Zhao               Guangying Chen
Limited                                                                                 Anton Keen



Cyper Technologies     Malaysia         xxxxxx0378         Changpeng Zhao               Guangying Chen
SDN BHD                                                                                 Adrian Rhui Keong
                                                                                        Darren Makarem



* At least for one of several acocunts and for some points during the relevant period
